                    Case 3:04-cv-00251-HSO-ASH                                        Document 857-17                          Filed 09/03/19                     Page 1 of 1
          M DCPS                                              BUDGET REQUEST FOR FISCAL YEAR ENDING JUNE 30, 2020
          013709                                                                                                                                                                    651-09
Department of Child Protection Services                                660 N. Street, Ste. 200                                                        Jess H. Dickinson
AGENCY                                                                 ADDRESS                                                                        CHIEF EXECUTIVE OFFICER
                                                                                Actual Expenses          Estimated Expenses     Requested For             Requested Over/(Under) Estimated
                                                                                 June 30,2018               June 30,2019        June 30,2020
I. A. PERSONAL SERVICES                                                                                                                                   AMOUNT                I   PERCENT
        I. Salaries, Wages & Fringe Benefits (Base)                                    79,463,896                 84,000,000          98,285,624
                a. Additional Compensation                                                                                              1,293,929
                b. Proposed Vacancy Rate (Dollar Amount)                                                                               8,558,059
                c. Per Diem
         Total Salaries, Wages & Fringe Benefits                                       79,463,896                 84,000,000          91,021,494                   7,021,494                  8.36%
         2. Travel
               a. Travel & Subsistence (In-State)                                       8,512,288                  8,468,472           8,108,550                   (359,922)                (4.25%)
                b. Travel & Subsistence(Out-Of-State)                                     167,662                    168,000             168,000
                c. Travel & Subsistence (Out-Of-Country)
         Total Travel                                                                   8,679,950                  8,636,472           8,276,550                   (359,922)                (4.17%)
  B. CONTRACTUAL SERVICE S(Schedule B)
       a. Tuition, Rewards & Awards                                                       597,516                    602,500             602,500
       b. Communications, Transportation & Utilities                                       142,039                   164,130             164,130
       c. Public Information                                                                49,505                    66,394              66,394
         d. Rents                                                                        1,178,532                 1,365,863           1,365,900                          37                  0.00%.,
         e. Repairs & Service                                                              83,030                     90,000              90,000
        f Fees, Professional & Other Services                                          29,968,209                 39,452,182          38,328,120                  (1,124,062)               (2.85%)
         g. Other Contractual Services                                                    916,989                  1,309,839           1,309,839
         h. Data Processing                                                             6,292,408                  8,599,265          41,599,265                  33,000,000                383.75%
         i. Other                                                                       3,196,531                  1,565,963             200,000                  (1,365,963)              (87.23%)
  Total Contractual Services                                                           42,424,759                 53,216,136          83,726,148                  30,510,012                 57.33%
  C. COMMODITIES (Schedule C)
         a. Maintenance & Construction Materials & Supplies
         b. Printing & Office Supplies & Materials                                        456,922                   692,517              692,517
        c. Equipment, Repair Parts, Supplies & Accessories                                117,917                    179,008             179,008
         d. Professional & Scientific Supplies & Materials                                  7.665                     11,324              11,324
         e. Other Supplies & Materials                                                   444,611                     179,621             129,621                    (50,000)               (27.84%)
  Total Commodities                                                                     1,027,115                  1,062,470           1,012,470                    (50,000)                (4.71%)
  D. CAPITAL OUTLAY
       1.Total Other Than Equipment(Schedule D-1)
       2.Equipment(Schedule D-2)
           b. Road Machinery, Farm & Other Working Equipment
                c. Office Machines, Furniture, Fixtures & Equipment
                d. IS Equipment(Data Processing & Telecommunications)                      92,401                   285,000              285,000
                e. Equipment - Lease Purchase
                f.Other Equipment
        Total Equipment(Schedule D-2)                                                      92,401                   285,000              285,000
        3. Vehicles (Schedule D-3)
        4 Wireless Comm Devices (Schedule D-4)
  E. SUBSIDIES, LOANS & GRANTS (Schedule E)                                            56,295,689                 61,983,208          77,369,130                  15,385,922                 24.82%
TOTAL EXPENDITURES                                                                    187,983,810               209,183,286          261,690,792                  52,507,506                 25.10%
II. BUDGET TO BE FUNDED AS FOLLOWS:
  Cash Balance-Unencumbered
  General Fund Appropriation (Enter General Fund Lapse Below)                          97,969,323                 97,994,298         135,744,859                  37,750,561                 38.52%
  State Support Special Funds                                                                                     12,000,000                                  (12,000,000)                 (100.00%)
  Federal Funds                                                                        88,504,053                 97,371,706         124,179,307                  26,807,601                  27.53%
                              Other Special Funds (Specify)
  Children's Trust Fund                                                                   272,352                    579,200             528,544                    (50,656)                (8.75%)
  Fingerprinting, Homestudy, Other                                                      1,238,082                  1,238,082           1,238,082



  Less: Estimated Cash Available Next Fiscal Period
 TOTAL FUNDS (equals Total Expenditures above)                                        187,983,810               209,183,286          261,690,792                  52,507,506                 25.10%
 GENERAL FUND LAPSE
III: PERSONNEL DATA
  Number ofPositions Authorized in Appropriation Bill         a.) Perm Full                 1,536                      1,537               1,537
                                                              b.)Perm Part
                                                              c.) T-L Full                       417                    417                     417
                                                              d.) T-L Part
  Average Annual Vacancy Rate (Percentage)                    a.)Penn Full                   7.00                       5.00                5.00
                                                              b.)Penn Part
                                                              c.) T-L Full                   3.00                       3.00                3.00
                                                              d.) T-L Part
A pproved by:          Jess Dickinson                                                              Sub                                                                 8/10/2018 4:51 PM
                                                                                                                                                        Date :
                                 Official of Board or Commission
Budget Officer:        Lucreta Tribune / lucreta.tribune@mdcps.ms.gov                              Pho                                                  Title :        CFO
